Case 5:21-cv-00844-XR Document 737-1 Filed 08/25/23 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
LA UNION DEL PUEBLO ENTERO, et al.

Vs, Case No.: 5:21-cv-844-XKR
GREGORY W. ABBOTT, et al.

ORDER
BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Victor M. Garza , counsel for

Defendant Hilda A. Salinas , and the Court, having reviewed the motion, enters

the following order:

IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Victor M. Garza may appear on behalf of Defendant Hilda A. Salinas

in the above case.

IT IS FURTHER ORDERED that Victor M. Garza if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.
District Court, in compliance with Local Court Rule AT-I(f)(2).

SIGNED this the day of August , 20

UNITED STATES DISTRICT JUDGE
